       Case 1:25-cv-01161-TJK             Document 6-3    Filed 04/16/25     Page 1 of 1




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 REJON TAYLOR, et al.,

                            Plaintiffs,

                    v.                                             1:25-cv-01161
                                                    Civil Case No. ____________________
 DONALD J. TRUMP, et al., in their official
 capacities,

                            Defendants.


            [PROPOSED] ORDER GRANTING ADMISSION PRO HAC VICE

       Having considered the motion to admit Krysta Kilinski of the law firm Hecker Fink LLP

to appear in this action pro hac vice on behalf of Plaintiffs Rejon Taylor, Norris Holder, Brandon

Basham, Wesley Coonce, Brandon Council, Chadrick Fulks, Thomas Hager, Charles Hall, Richard

Jackson, Jurijus Kadamovas, Daryl Lawrence, Iouri Mikhel, Ronald Mikos, James Roane, Julius

Robinson, David Runyon, Ricardo Sanchez, Richard Tipton, Jorge Torrez, Daniel Troya, and

Alejandro Umaña, it is hereby ORDERED that the motion is GRANTED.



 Dated:
                                                      U.S.D.J.
